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               EXHIBIT B
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE
 SILVERGATE PHARMACEUTICALS, INC.,                    )
                                                      )
                       Plaintiff,                     )
                                                      )
       v.                                             )    C.A. No. _______________
                                                      )
 BIONPHARMA INC.,                                     )
                                                      )
                       Defendant.                     )

                      COMPLAINT FOR PATENT INFRINGEMENT

For its Complaint against Defendant Bionpharma Inc. (“Bionpharma”), Plaintiff Silvergate

Pharmaceuticals, Inc. (“Silvergate”), by and through its attorneys, alleges as follows:

                               THE NATURE OF THE ACTION

       1.      This is an action for patent infringement of United States Patent No. 10,154,987

(the “’987 Patent”) arising under the patent laws of the United States, Title 35 of the United

States Code, that arises out of the filing by Bionpharma of Abbreviated New Drug Application

(“ANDA”) No. 212408 with the United States Food and Drug Administration (“FDA”) seeking

approval of a generic version of Silvergate’s oral solution that is the subject of New Drug

Application (“NDA”) No. 208686, hereinafter referred to as Silvergate’s “Epaned® Product.”

Silvergate seeks all available relief under the patent laws of the United States, 35 U.S.C. § 100

et. seq., and other applicable laws for Bionpharma’s infringement of the ’987 Patent.

                                         THE PARTIES

       2.      Silvergate is a corporation organized and existing under the laws of the State of

Delaware, with a principal place of business at 6251 Greenwood Plaza Boulevard, Suite 101,

Greenwood Village, CO 80111.
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       3.      On information and belief, Bionpharma is a corporation organized and existing

under the laws of the State of Delaware, with its principal place of business at 600 Alexander

Road, Suite #2-4B, Princeton, NJ 08540. On information and belief, Bionpharma is in the

business of, among other things, developing, manufacturing, and selling generic copies of

branded pharmaceutical products for the U.S. market.

                                JURISDICTION AND VENUE

       4.      This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction over the action under 28 U.S.C. §§ 1331, 1338(a).

Relief is sought under 35 U.S.C. § 271(e)(2).

       5.      This Court has personal jurisdiction over Bionpharma because, among other

things, on information and belief, Bionpharma is a corporation formed under the laws of the

State of Delaware.

       6.      Venue is proper in this Court under 28 U.S.C. §§ 1391(c) and 1400(b).

                          SILVERGATE’S EPANED® PRODUCT

       7.      Silvergate’s Epaned® Product is the only FDA approved and labeled ace inhibitor

treatment that is a ready-to-use oral solution for hypertension in children. Epaned® is also

indicated to treat hypertension in adults, heart failure, and asymptomatic left ventricular

dysfunction.

       8.      Silvergate is the holder of approved NDA No. 208686.

                                       PATENT-IN-SUIT

       9.      The ’987 Patent, entitled “Enalapril Formulations,” issued to Gerold L. Mosher

and David W. Miles on December 18, 2018. A true and correct copy of the ’987 Patent is

attached to this Complaint as Exhibit A.




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        10.     The ’987 Patent was duly and legally issued to Silvergate as the assignee, and

Silvergate owns all rights, title, and interest in the ’987 Patent.

        11.     Pursuant to 21 U.S.C. § 355, the ’987 Patent is listed in the Approved Drug

Products with Therapeutic Equivalence Evaluations (“the Orange Book”) in connection with

Silvergate’s Epaned ® product.

        12.     The use of Silvergate’s Epaned® Product is covered by at least one claim of the

’987 Patent.

                             INFRINGEMENT BY BIONPHARMA

        13.     By letter dated April 25, 2019 (“Notice Letter”), Bionpharma notified Silvergate

that it had submitted ANDA No. 212408 to FDA under § 505(j)(2)(B) of the Federal Food, Drug,

and Cosmetic Act (“FDCA”), 21 U.S.C. § 355(j)(2)(B) and 21 C.F.R. § 314.95, seeking approval

to engage in the commercial manufacture, use, and sale of a generic version of Silvergate’s

Epaned® Product (“Bionpharma ANDA Product”) before the expiration of the ’987 Patent.1 On

information and belief, Bionpharma intends to engage in commercial manufacture, use, and sale

of the Bionpharma ANDA Product promptly upon receiving FDA approval to do so.

        14.     By filing ANDA No. 212408, Bionpharma has necessarily represented to FDA

that the Bionpharma ANDA Product has the same active ingredients as Silvergate’s Epaned®

Product, has the same route of administration, dosage form, and strength as Silvergate’s Epaned®

Product, and is bioequivalent to Silvergate’s Epaned® Product.




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   On December 12, 2018, Silvergate brought an action against Bionpharma for infringement of
United States Patent Nos. 9,669,008 (the “’008 Patent”), 9,808,442 (the “’442 Patent”), and
10,039,745 (the “’745 Patent”) in this District. That case is currently pending as C.A. No.
1:18-cv-01962. Silvergate hereby incorporates by reference its Complaint (D.I. 1) against
Bionpharma in that action, and intends to request consolidation of these two cases.



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                                   CLAIM 1 FOR RELIEF
                Infringement of the ’987 Patent Under 35 U.S.C. § 271 (e)(2)(A)

          15.   Silvergate incorporates each of the preceding paragraphs as if fully set forth

herein.

          16.   Bionpharma submitted ANDA No. 212408 to FDA under section 505(j) of the

FDCA to obtain approval to engage in the commercial manufacture, use, offer for sale, sale, or

importation of the Bionpharma ANDA Product throughout the United States. By submitting the

ANDA, Bionpharma has committed an act of infringement of the ’987 Patent under 35 U.S.C.

§ 271 (e)(2)(A).

          17.   If Bionpharma’s ANDA is approved by FDA, the commercial manufacture, use,

offer to sell, or sale within the United States, and/or importation into the United States of the

Bionpharma ANDA Product will infringe the ’987 Patent under 35 U.S.C. § 271(a)-(c).

          18.   On information and belief, Bionpharma had actual knowledge of the ’987 Patent

prior to filing ANDA No. 212408 and was aware that filing this ANDA with FDA constituted an

act of infringement of the ’987 Patent. In addition, on information and belief, Bionpharma had

specific intent to infringe the ’987 Patent when it filed ANDA No. 212408. Moreover, there are

no substantial non-infringing uses for the Bionpharma ANDA Product other than as the

pharmaceutical claimed in the ’987 Patent.

          19.   The commercial manufacture, use, offer for sale, sale, and/or importation of the

Bionpharma ANDA Product in violation of Silvergate’s patent rights will cause irreparable harm

to Silvergate for which damages are inadequate.




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                                       PRAYER FOR RELIEF

          Silvergate respectfully requests the following relief:

          a)     A judgment that Bionpharma has infringed the ’987 Patent under 35 U.S.C.

§ 271(e)(2)(A) by submitting ANDA No. 212408 under Section 505(j) of the FDCA, and that

Bionpharma’s making, using, offering to sell, or selling in the United States, or importing into

the United States of the Bionpharma ANDA Product will infringe one or more claims of the ’987

Patent;

          b)     A finding that the ’987 Patent is valid and enforceable;

          c)     An order under 35 U.S.C. § 271(e)(4)(A) that the effective date of any FDA

approval of ANDA No. 212408 shall be a date which is not earlier than the latest expiration date

of the ’987 Patent, as extended by any applicable periods of exclusivity;

          d)     An order under 35 U.S.C. § 27l(e)(4)(B) permanently enjoining Bionpharma, its

subsidiaries, parents, officers, agents, servants, employees, licensees, representatives, and

attorneys, and all other persons acting or attempting to act in active concert or participation with

it or acting on its behalf, from engaging in the commercial manufacture use, offer to sell, or

importation into the United States, of any drug product the use of which is covered by the ’987

Patent, including the Bionpharma ANDA Product;

          e)     A finding that this action for infringement is an exceptional case under 35 U.S.C.

§ 285, and that Silvergate be awarded reasonable attorneys’ fees and costs; and

          f)     An award of any such other and further relief as the Court may deem just and

proper.




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                                                MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                                /s/ Megan E. Dellinger

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June 7, 2019




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